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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE R. BROOKE JACKSON


Civil Action:          18-cr-00142-RBJ                        Date: September 4, 2018
Courtroom Deputy:      Julie Dynes                            Court Reporter: Sarah Mitchell
Interpreter            Carmen Stefu                           Probation: N/A

                        Parties                                            Counsel

UNITED STATES OF AMERICA                                                 Timothy Neff
                Plaintiff

v.

1. DANIEL MAHU                                                           Kelly Christl
                       Defendant


                                     COURTROOM MINUTES


CHANGE OF PLEA HEARING

Court in session: 9:06 a.m.

Appearances of counsel.

Interpreter sworn.

Defendant is present in custody.

The Plea Agreement (Court Exhibit 1) and Defendant’s Statement in Advance of Plea of Guilty
(Court Exhibit 2) are tendered to the Court.

Defendant is sworn.

Defendant's right to trial by jury and other constitutional rights explained.

Factual basis for the plea stated.

Defendant advised of maximum penalties, sentencing guidelines and appeal rights.
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Defendant enters plea of guilty to Count 1 of the Information pursuant to the plea agreement.

The Court finds that the defendant has knowingly, intelligently, and voluntarily entered a plea of
guilty.

ORDERED: The plea of guilty to Count 1 of the Information entered by the defendant is
         accepted, the defendant is found guilty of the crime charged.

               The Probation Department shall conduct a presentence investigation and file
               a presentence report as required by 18 U.S.C. § 3552 and Fed.R.Crim.P. 32.

               Sentencing is set for November 16, 2018, at 8:30 a.m. before the Honorable
               Judge R. Brooke Jackson in Courtroom A-902, Ninth Floor, Alfred A. Arraj
               United States Courthouse, 901 19th Street, Denver, Colorado 80294.

               Request for plea agreement to be filed as restricted is DENIED IN PART,
               parties are to file a redacted version for public access.

               The defendant is remanded to the custody of the United States Marshal.

Court in Recess: 9:21 a.m.            Hearing concluded.            Total time in Court: 00:15
